Case 2:05-cr-20058-SH|\/| Document 12 Filed 06/15/05 Page 1 of 2 Page|D 19

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IN THE UNITED sTATEs DISTRICT cOURT
FoR THE wEsTERN DISTRICT 0F TENNESS§§JUN .
WESTERN DIVISION `15 PH h |8

 

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UNITED STATES OF AMERICA' '»W_D’ GF "FN, f`v";El'\£':'F:HYS

VS. NO. 05-20058-Ma
DALE E. ELMORE,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the government's June 15, 2005,
unopposed motion to reset the sentencing of Dale E. Elmore, which
is presently set for June 17, 2005. For good cause shown, the
motion is granted. The sentencing of defendant Dale E. Elmore is
reset to Thursday, July 7, 2005, at 2:00 p.m.

It is so ORDERED this /Su¢;day of June, 2005.

SAMUEL H. MAYS, JR.
U'NI’I‘ED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

